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                            IN THE UNITED STATES DISTRICT COURT
13                        FOR THE EASTERN DISTRICT OF CALIFORNIA

14
15    The Church of the Celestial Heart, a
      California Religious Corporation, et al.,           Case No. 23-cv-545-SAB
16
17                            Plaintiffs,                 STIPULATION OF DISMISSAL WITH
                                                          PREJUDICE
18              vs.

19    Pamela J. Bondi et al.,

20                              Defendants.
21
             The parties hereby stipulate under Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure
22
     that this action be dismissed with prejudice as to all claims and causes of action filed in this matter.
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       Case 1:23-cv-00545-SAB         Document 74      Filed 06/10/25    Page 2 of 2


 1   Dated: June 10, 2025                          Respectfully submitted,
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